Case:23-01258-JGR Doc#:4 Filed:11/21/23        Entered:11/21/23 13:28:14 Page1 of 15




                                                    DATE FILED: October 16, 2023 5:30 PM
 DISTRICT COURT, LARIMER COUNTY, COLORADO
                                        FILING ID: 4243BDF8A0A2B
                                                    CASE NUMBER: 2023CV30125
 201 La Porte Ave, Suite 100
 Ft. Collins, CO 80521

 Plaintiff and Counter-Defendant: CARLSON FARMS
 HOMEOWNERS ASSOCIATION, a Colorado non-profit
 corporation,
 v.

 Defendant and Counter-Claimant: NOCO REAL ESTATE
 SOLUTIONS, INC., d/b/a POUDRE PROPERTY SERVICES,             ▲ COURT USE ONLY ▲
 f/k/a RCE, INC., d/b/a RCE, INC., a Colorado corporation;
 SANDRA OLDENBURG, an individual; and JOHN
 BICKERTON, an individual

 Third-Party Plaintiff: NOCO REAL ESTATE SOLUTIONS,
 INC., d/b/a POUDRE PROPERTY SERVICES, A Colorado
 corporation and SANDRA OLDENBURG, an individual.


 v.

 Third-Party Defendants: MATTHEW BAILEY, KIM
 GIGNAC AND SHAUNE GOLEMON.

 Attorneys for Plaintiff:                                     Case NO. 23 CV 30125
 Miro Kovacevic, #35981
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                               FIRST AMENDED COMPLAINT




                                                                            EXHIBIT 1 TO MOTION FOR LEAVE

                                           1
Case:23-01258-JGR Doc#:4 Filed:11/21/23              Entered:11/21/23 13:28:14 Page2 of 15




       Plaintiff, Carlson Farms Homeowners Association (“Carlson Farms”), through its

undersigned counsel, Goodspeed Merrill, states as follows:

                                   PARTIES AND VENUE

       1.      Plaintiff Carlson Farms Homeowners Association, Inc. is a Colorado nonprofit

corporation which has its principal office address in Larimer County, Colorado.

       2.      Defendant NOCO Real Estate Solutions, Inc., d/b/a Poudre Property Services

(“PPS”) is a Colorado corporation in good standing with its principal place of business located at

2900 S. College Ave., Suite 3E, Fort Collins, CO 80525.

       3.      NOCO Real Estate Solutions was previously known as RCE, Inc. The name

change was reflected in a November 13, 2019 filing with the Colorado Secretary of State.

NOCO Real Estate Solutions also employs RCE Inc. as a trade name.

       4.      Defendant Sandra Oldenburg is an individual who resides at 4904 Silverwood

Drive, Johnstown, Colorado 80534.

       5.      Defendant John Bickerton is an individual who resides in Larimer County,

Colorado. (PPS, Ms. Oldenburg, and Mr. Bickerton are collectively referred to herein as

“Defendants”).

       6.      Venue and jurisdiction are proper in this Court pursuant to C.R.C.P. 98(c) because

Defendants Oldenburg and Bickerton reside in Larimer County, Colorado. Further, PPS’

principal place of business is located in Larimer County, Colorado.

                                 GENERAL ALLEGATIONS

       7.      Carlson Farms is the Homeowners Association affiliated with a residential

community located in Johnstown, Colorado. This Complaint concerns the improper conduct and

                                                                                                    EXHIBIT
                                                2
                                                                                     1 to Pl's Motion For Leave to File First Amended Complaint
Case:23-01258-JGR Doc#:4 Filed:11/21/23              Entered:11/21/23 13:28:14 Page3 of 15




inferior record keeping of its longtime Property Manager, and describes how hundreds of

thousands of dollars in Association funds are missing without explanation.

       8.      This action seeks to compensate the Association for the damages it sustained as a

result of the Defendants’ conduct and compel specific performance for financial documentation

and records owed to the Association.

                    The Homeowners Association Management Agreement

       9.      In 2007, the Association engaged PPS as its Agent and Property Manager. For all

time periods relevant to this Complaint, Defendants Oldenburg and Bickerton served as the

principal and controlling figures behind PPS.

       10.     On January 1, 2007, the parties executed a Homeowners Association Management

Agreement (“the Agreement”) (Exhibit 1).

       11.     Defendant Bickerton executed the Agreement on behalf of PPS.

       12.     The Agreement describes PPS’ extensive obligations as Agent with respect to the

Association’s finances. These duties included, but were not limited to:

       §2.1 Collection of Assessments. Agent shall collect (and give receipts for, if necessary)
       all annual and other assessments and monies that are due the Association with respect to
       the Property …

       §2.2 Records of Income and Expenditures. Agent shall maintain records of all income
       and expenses relating to the Property, and shall submit to the Association on or before the
       twentieth (20th) day of the following month, a statement of receipts and disbursements for
       the preceding month, including a statement of the balance in the operating account for the
       Property.

       §2.3 Preparation of Annual Budget. Sixty (60) days prior to the Fall Association
       General Meeting, Agent shall prepare and submit to the Board a recommended Annual
       Budget for the next year showing anticipated income and expenses for the next year.

       §2.4 Submission of Annual Report. Within forty-five (45) days after the end of each
       fiscal year, Agent shall submit to the Association, a summary of all receipts and

                                                3
Case:23-01258-JGR Doc#:4 Filed:11/21/23             Entered:11/21/23 13:28:14 Page4 of 15




       disbursements relating to the Property for the preceding year. HOWEVER, submission
       of such annual report shall not be construed to require Agent to supply an audit. Any
       audit required by the Association shall be prepared at the Association’s expense by an
       auditor(s) of its choosing.

       …

       §2.6 Employment of Personnel. Agent shall hire, pay, negotiate collective bargaining
       agreements with (if necessary), supervise, and discharge whatever personnel may be
       required to maintain and operate the Property on behalf of the Association and in
       accordance with the budget, job standards and wage rates previously approved by the
       Association …

       §2.7 Payment of Employment Taxes. Agent shall, on behalf of the Association,
       execute and file all tax and other returns and do and perform all acts required of the
       Association as an employer under the Federal Insurance Contributions Act, the Federal
       Unemployment Tax Act, all applicable federal, state and local income tax laws, and all
       other laws, regulations, and/or ordinances governing employment and payment of wage.
       Upon request, the Board shall promptly execute and deliver to the Association all
       necessary powers of attorney, notices of appointment and the like.

       …

       §2.9 Payment of Expenses. From the funds of the Association, Agent shall pay all
       expenses of the Property, including taxes, building and backflow inspection fee, water
       rates and other governmental charges, and all other charges or obligations incurred by the
       Association or by Agent on behalf of the Association with respect to the maintenance or
       operation of the Property or pursuant to the terms of this Agreement or pursuant to other
       authority granted by the Board on behalf of the Association.

       §2.10 Records of Insurance. Agent shall maintain appropriate records of all insurance
       coverage for the Property carried by the Association …

       Agreement at §§ 2.1-2.10.


       13.    PPS was precluded from making any “unbudgeted expenditures or include any

nonrecurring contractual obligations exceeding five hundred dollars ($500.00) without the proper

consent of the Association through the Board.” Agreement at §3.




                                               4
Case:23-01258-JGR Doc#:4 Filed:11/21/23               Entered:11/21/23 13:28:14 Page5 of 15




       14.      In addition, PPS was responsible for the disposition of Association funds, and

required to keep the funds of the Association completely separate and apart from its own fund or

the funds of “any others.” Agreement at §5.1.

       15.      Further, PPS was responsible for paying “all expenses of operation and

management of the Property” from the Association’s funds. Agreement at §5.2.

       16.      Pursuant to the Agreement, PPS was obligated to obtain a bond for the

Association’s benefit for all employees who handled or were responsible for the safekeeping of

the Association’s monies. Agreement at §5.4.

       17.      In the alternative, PPS was required to obtain and maintain fidelity insurance

coverage.

       18.      Upon termination of the Agreement, PPS was required to forward any balance of

monies due to the Association and provide a final accounting, reflecting the balance of income

and expenses with respect to the Property and “all records, contracts, leases, receipts for deposits,

and other papers or documents which pertain to the Property.” Agreement at §5.10.

       19.      Pursuant to the Agreement, the Association paid PPS for its property management

services.

             Defendants Failed to Fulfill their Obligations under the Agreement and
                             Failed to Account for Missing Funds

       20.      On multiple occasions in 2021, Defendants provided written documentation to the

Association, confirming that the Association had total cash balances in the approximate amount

of $438,136.18 for the twelve month period ending December 9, 2021.

       21.      The 2021 cash balance amount provided by Defendants were in line with cash

balance amounts from earlier years. A 2020 Association Treasurer’s report reported the

                                                 5
Case:23-01258-JGR Doc#:4 Filed:11/21/23               Entered:11/21/23 13:28:14 Page6 of 15




Association’s cash balances as $491,194.00 as of October 2020 and $381,306.00 as of

September 2019.

       22.     Throughout 2022, Defendants failed to provide the Association with a myriad of

financially related documents, despite the fact that between February and June 2022, the

Association’s treasurer repeatedly asked for financial information.

       23.     No financial statements were provided for the first five months of 2022.

       24.     After months of delay and excuses, Defendants provided a cash flow statement in

June 2022, confirming that the Association’s collective cash balance as of December 31, 2021

was $537,902.81.

       25.     The Association continued to request information and financial statements from

Defendants in accordance with their obligations under the Agreement.

       26.     Defendants ignored these repeated requests.

       27.     On September 26, 2022, the Association requested a face-to-face meeting with

Defendants PPS and Oldenburg. This meeting was scheduled for October 12, 2022.

       28.     On October 10, 2022, the Association e-mailed Defendants PPS and Oldenburg to

confirm the meeting, and to request that on October 12, 2022, they provide financial

documentation that included: the Association’s insurance information; tax returns for the last

five years; and financial data for the past twelve months.

       29.     Defendants PPS and Oldenburg cancelled the October 12, 2022 meeting on the

day of the meeting.

       30.     The parties rescheduled this meeting for October 27, 2022.




                                                 6
Case:23-01258-JGR Doc#:4 Filed:11/21/23                Entered:11/21/23 13:28:14 Page7 of 15




          31.   Shortly before the October 27, 2022 meeting, Defendants PPS and Oldenburg

informed the Association that its reserve accounts were exactly $150,000.00. The Association

questioned this number as it was significantly lower than the reserve account numbers provided

in earlier financial documents.

          32.   Defendants PPS and Oldenburg informed the Association that while they did not

have immediate answers to the Association’s queries concerning the exact amount of money in

the reserve accounts, they would look into the issue and provide the Association with the correct

data. Defendants failed to provide this information.

          33.   On October 20, 2022, the Association requested that Defendants PPS and

Oldenburg provide it with bank statements for the past three months, and asked whether the

Association had more than two bank accounts. The Association requested this information by 5

p.m. on October 26, 2022, the day before the October 27, 2022 meeting.

          34.   The Defendants failed to inform the Association as to whether it had more than

two bank accounts. Further, the Defendants never provided the requested bank statements.

          35.   On October 27, 2022, the Association met with Defendants PPS and Oldenburg.

          36.   During the October 27, 2022 meeting, Defendants PPS and Oldenburg offered to

prepare full financial information data binders for each board member.

          37.   In an e-mail sent after the October 27, 2022 meeting, the Association requested

Defendants PPS and Oldenburg produce the Associations’ budget for 2023, which PPS was

contractually obligated to provide.

          38.   Defendants never provided the financials. Defendants never provided the 2023

budget.


                                                7
Case:23-01258-JGR Doc#:4 Filed:11/21/23              Entered:11/21/23 13:28:14 Page8 of 15




       39.     On October 28, 2022, the Association issued notice of its termination of the

Agreement, effective January 1, 2023.

       40.     On December 6, 2022, the Association’s new property manager e-mailed

Defendants PPS and Oldenburg a list of property and funds that needed to be forwarded, as

required by the Agreement, including the most recent financial reports, bank statements, year-to-

date general ledger, and prior tax returns.

       41.     On December 27, 2022, Defendants PPS and Oldenburg forwarded to the

Association a November, 2022 financial report. This report contained several inaccuracies, and

reflects the Association’s cash balance having decreased by approximately $400,000.00 from the

December 2021 financial statements.

       42.     In 2022, there were no large expenditures that could have accounted for a

reduction of $400,000.00 from Association funds.

       43.     When questioned by the Association on this incredible disparity, PPS failed to

respond and failed to provide any explanation.

       44.     Had the Association known that its 2022 cash reserves were approximately

$400,000.00 less than anticipated, it would have increased member assessments.

       45.     On December 30, 2022, Defendants PPS and Oldenburg informed the Association

that they would provide the Association’s financials by January 15, 2023.

       46.     Defendants did provide the Association with some financials by January 15, 2023,

but the documentation contained significant omissions, including 2022 end of year financial

information, and detailed income and expense sheets. To date, this information has never been

provided.


                                                 8
Case:23-01258-JGR Doc#:4 Filed:11/21/23               Entered:11/21/23 13:28:14 Page9 of 15




       47.     Defendants have issued three checks in the total amount of $130,338.23 to the

Association as part of their obligations to return the Association’s money upon termination of the

Agreement. Two of these checks were from the Association to the Association, and drawn from

Association accounts at Independent Financial Bank that were operated by Defendants, and the

third was from Civitas Resources, Inc. The Association receives oil and gas royalties from

Civitas Resources, Inc.

       48.     The checks were drawn from the following accounts: 1) $101,056.29 from

Independent Financial Account No. 4123709); 2) $24,999.93 from Independent Financial

Account No. 4123709; and 3) $4,282.01 from Civitas Resources, Inc.

       49.     The Independent Financial account number from which Defendants drew the

checks for $101,056.29 and $24,999.93 does not match account numbers for Independent

Financial bank statements previously provided by the Defendants.

                                   February 10, 2023 Demand Letter

       50.     On February 10, 2023, the Association issued a demand letter to Defendants PPS

and Oldenburg, requesting that Defendants provide to the Association all of its funds and

specifically listed financial information by 5 p.m. on Monday, February 13, 2023 (Exhibit 2).

The requested financial documents included: all taxes and tax returns filed on behalf of the

Association from 2007 to 2022; a list of financial institutions and account numbers in which the

Association has or has had deposits; all leases involving the Association; all oil and gas royalty

statements; monthly financial statements; and monthly cashflow statements.

       51.     The demand letter warned Defendants that the Association would immediately

initiate litigation if Defendants failed to provide the requested documentation by the deadline.


                                                 9
Case:23-01258-JGR Doc#:4 Filed:11/21/23                Entered:11/21/23 13:28:14 Page10 of 15




           52.    The Association received confirmation of the Defendants’ receipt of the demand

 letter.

           53.    Despite this receipt, the Defendants neither acknowledged nor responded to the

 demand letter.

                                   FIRST CLAIM FOR RELIEF
                               (Breach of Contract – Defendant PPS)

           54.    The Association incorporates all preceding paragraphs by reference as if fully set

 forth herein.

           55.    The Agreement is a valid contract that binds both the Association and Defendants,

 who are Agents of the Association.

           56.    The Association fulfilled its obligations under the Agreement by paying

 Defendants for PPS’ property management services.

           57.    The Defendants breached their obligations under the Agreement by failing to

 maintain records of income and expenditures, and failing to submit monthly financials to the

 Association. Further, the Defendants breached their obligations under the Agreement by failing

 to prepare an annual budget for 2023 and failing to maintain appropriate records of Association

 insurance coverage. Moreover, the Defendants breached their obligations under the Agreement

 by failing to provide a final accounting and failing to return to the Association specific

 documents as required by the Agreement.

           58.    The Association has been damaged as a result of the Defendants’ breach.

           59.    The Association respectfully requests that this Court order specific performance

 requiring Defendants to return all Association monies and financial documentation requested in

 the February 10, 2023 demand letter to the Association.

                                                  10
Case:23-01258-JGR Doc#:4 Filed:11/21/23               Entered:11/21/23 13:28:14 Page11 of 15




                                SECOND CLAIM FOR RELIEF
                          (Demand for an Accounting – Defendant PPS)

        60.      The Association incorporates all preceding paragraphs by reference as if fully set

 forth herein.

        61.      Financial documentation provided by Defendants to the Association has been

 incomplete and inconsistent, displaying disparities of approximately $400,000.00 from financial

 statements provided a year apart.

        62.      Upon information and belief, the incomplete financial records provided by

 Defendants do not reflect all income and expenses of the Association.

        63.      Based on the incomplete financials provided by the Defendants, the Association is

 unable to determine how much money is in its bank accounts and how much money, if any, is

 due to the Association from Defendants.

        64.      The Association respectfully demands a full accounting of Defendants’ finances,

 including all bank statements, sources of income, expenses and all Association financial

 documents.

                                 THIRD CLAIM FOR RELIEF
                          (Money Had and Received – Defendant PPS)

        65.      The Association incorporates all preceding paragraphs by reference as if fully set

 forth herein.

        66.      Defendants charged the Association for their property management services. The

 Association regularly paid Defendants for their services, despite receiving incomplete, inferior

 financial documentation in 2022.




                                                 11
Case:23-01258-JGR Doc#:4 Filed:11/21/23               Entered:11/21/23 13:28:14 Page12 of 15




        67.      Further, while serving as Agents of the Association, Defendants received oil and

 gas royalty checks and other monies paid to the Association.

        68.      The Defendants have received funds from the Association, which, in equity and

 good conscience, they ought to pay to the Association in order to prevent unjust enrichment in an

 amount to be proven at trial.

                                 FOURTH CLAIM FOR RELIEF
                                  (Conversion – all Defendants)

        69.      The Association incorporates all preceding paragraphs by reference as if fully set

 forth herein.

        70.      The Association possessed cash held in Financial Institutions in the approximate

 amount of $400,000.00 to $500,000.00, according to financial statements provided by

 Defendants.

        71.      The Defendants owned and controlled multiple checking accounts with

 Independent Financial that were in the name of the Association and held Association funds (the

 “Accounts”).

        72.      Defendants set up the Accounts in a way that precluded the Association from

 independently reviewing or accessing the Accounts.

        73.      Defendants proceeded to make multiple, unauthorized transfers of the

 Association’s funds from the Accounts to themselves individually. These transfers solely

 benefitted Defendants and not the Association, and were not made for any legitimate purpose

 under the Agreement or otherwise.

        74.      Defendants intentionally and substantially interfered with the Association’s

 ownership of its cash by preventing the Association from having access to the funds, refusing to

                                                 12
Case:23-01258-JGR Doc#:4 Filed:11/21/23                  Entered:11/21/23 13:28:14 Page13 of 15




 return the funds after the Association demanded their return, and exceeding the extent and

 duration of authorized use of the Association’s funds.

        75.      The Association did not consent to this interference.

        76.      The Association has suffered damages in the amount of the converted funds,

 which is to be proven at trial, plus costs, interest, and all other relief the Court deems

 appropriate.

                                        FIFTH CLAIM FOR RELIEF
                                         (Civil Theft – all Defendants)

        77.      The Association incorporates all preceding paragraphs by reference as if fully set

 forth herein.

        78.      The Association owned and possessed approximately $400,000.00 to $500,000.00

 of cash reserves, according to financial statements provided by Defendants.

        79.      The Defendants knowingly exercised control over and/or took the Association’s

 monies.

        80.      Specifically, Defendants set up the Accounts in a way that precluded the

 Association from independently reviewing or accessing the Accounts.

        81.      Defendants proceeded to make unauthorized transfers of the Association’s funds

 from the Accounts to themselves individually. These transfers solely benefitted Defendants and

 not the Association, and were not made for any legitimate purpose under the Agreement or

 otherwise.

        82.      The Defendants did so with the intent to permanently deprive the Association of

 the use and benefit of its property.

        83.      The Association suffered economic loss far in excess of $100,000.00.

                                                    13
Case:23-01258-JGR Doc#:4 Filed:11/21/23               Entered:11/21/23 13:28:14 Page14 of 15




        84.      Under C.R.S. § 18-4-405, the Association is entitled to receive three times the

 amount of its actual damages, plus costs and attorney fees.

                                 SIXTH CLAIM FOR RELIEF
                 (Fraudulent Misrepresentation – Defendants PPS and Oldenburg)

        85.      The Association incorporates all preceding paragraphs by reference as if fully set

 forth herein.

        86.      PPS and Oldenburg made fraudulent misrepresentations of material facts when

 they informed the Association that it had approximately half a million dollars in cash reserves in

 its financial accounts.

        87.      PPS and Oldenburg made the representations knowing them to be false or with

 the awareness that they did not know whether the representations were true or false.

        88.      PPS and Oldenburg made the representations with the intent that the Association

 would rely on them.

        89.      The Association reasonably relied on this misrepresentation when it decided to

 refrain from raising assessments in 2022, believing current cash reserves were plentiful.

        90.      The Association was justified in relying on the misrepresentation as PPS and

 Oldenburg were its Agents, Officers and Property Managers.

        91.      The Association was damaged in excess of $100,000.00 as a result of its reliance

 on PPS’ and Oldenburg’s representations.

        WHEREFORE, Plaintiff Carlson Farms Homeowners Association, Inc. respectfully

 requests that the Court enter judgment in its favor and against Defendant NOCO Real Estate

 Solutions, Inc, d/b/a Poudre Property Services, Sandra Oldenburg, and John Bickerton in an

 amount to be determined at trial for non-economic damages, economic damages, treble damages

                                                 14
Case:23-01258-JGR Doc#:4 Filed:11/21/23                Entered:11/21/23 13:28:14 Page15 of 15




 for civil theft pursuant to C.R.S. § 18-4-405, together with an award of pre- and post-judgment

 costs and attorneys’ fees, as well as pre- and post-judgment interest, and such other relief that

 this Court deems just and proper.

        Respectfully submitted October 16, 2023.

                                                       GOODSPEED MERRILL


                                                       /s/ Richard L. Merpi II
                                                       Miro Kovacevic, #35981
                                                       Richard L. Merpi II, #51896
                                                       Robert Hunger, #53089
                                                       Attorneys for Plaintiff

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                                                  15
